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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



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                                       )
                                       )
     Rodney Lail, et al.,              )
                                       )
           Plaintiffs,                 )
                                       )           C.A. No. 10-CV-210-PLF
                  v.                   )
                                       )
     United States Government, et al., )
                                       )
                                       )
           Defendants.                 )
                                       )
                                       )
                                       )


                          REQUEST TO EXPEDITE

      PRO SE PLAINTIFFS’’ EX PARTE MOTION FOR STAY AND
    EXPANSION OF TIME TO SERVE SUMMONS AND COMPLAINT
                       ON DEFENDANTS


      Plaintiffs’, Rodney Lail, Pro Se, Dan Green, Pro Se, James Spencer, Pro Se,

Doris Holt, Pro Se, Nicholas C. Williamson, Pro Se, Virginia Williamson, Pro Se,

Marguerite Stephens, Pro Se, Ricky Stephens, Pro Se, Bruce Benson, and Irene

Santacroce, Pro Se, move this Honorable Court to grant a stay and expansion of

time regarding the serving of Plaintiffs complaints on defendants. Plaintiffs have


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pending before the Court a motion for appointment of competent counsel as the

best efforts of Plaintiffs have been unsuccessful in obtaining competent counsel for

the reasons beyond plaintiffs control that are enumerated in plaintiffs’ motion for

appointment of counsel. The Plaintiffs request a stay on serving the complaints

until the Court renders its decision on Plaintiffs motion for appointment of

competent counsel and in either case if such motion is granted or not granted by

the Court the serving period for the complaints be expanded for sixty (60) days up

to and including August 4, 2010, as allowed by Rule 6(b), and as applicable Rule

4(i), Rule 4(m) of the Federal Rules of Civil Procedure.


                                Grounds for Relief

      The stay and expansion of time is needed because:

   1. Plaintiffs require competent counsel to review the complaint and amend the

      complaint as may be necessary so that the facts and applicable law are

      properly presented. Such time is necessary for in order for counsel to review

      and amend the complaint initiating this complex litigation.

   2. If the Plaintiffs’ motion for appointment of competent counsel is not granted

      by the Court, the Plaintiffs humbly request the additional time to continue

      their efforts to find competent counsel and if Plaintiffs are unable to secure

      counsel within the first thirty days of the requested expansion, use the

      remaining thirty days of the expansion to have all defendants served.
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